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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                  CASE NO. 4:11cr00200-03 JMM

BOBBY KHABEER
USM#: 26500-009



                      AMENDED JUDGMENT & COMMITMENT

      The Court has been notified that the Defendant’s United States Marshals number

provided for the preparation of the judgment was incorrect.

      The Judgment entered January 3, 2013 (DE #138) is amended to reflect the correct

United States Marshals number as 26500-009.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to Counsel, the United States

Probation Office and the United States Marshals Office.

      IT IS SO ORDERED this 13th day of February, 2013.




                                   UNITED STATES DISTRICT JUDGE
